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   Soutt NcDei United States District Court
    lvision: 2
   Receipt Nunbar: S4683003583
   Cashier ID: tlevinso
    Transaction Date: 87/B6/EO09
    Payer Haae: HUHTOH AHD UILLIAHS

    PRO HOC VICE
     For: HUNTON AND UILLIAHS
     Case/Party; D-VftE-2-09-CR-PROHAC-0Bl
     Auount:         J10B.00

    CHECK
     Cheek/Honey Order Huh: 61383!
     flat Tendered: $160.00

    Total Due:      $100.60
    Total Tendered: $100.86
    Change flat:    S0.B9

    HUHTOH f. UILLIAHS

   SCOTT ROBERTSON

   JENNIFER ALBERT
   2:89cv332
